    Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 1 of 18 PageID# 502




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

UNITED STATES OF AMERICA,           )
                                    )
            v.                      )                      Case No. 1:21-cr-245-AJT-1
                                    )
IGOR Y. DANCHENKO,                  )
                                    )
                  Defendant.        )
____________________________________)

                                                 ORDER
        The government has filed an omnibus Motion in Limine [Doc. No. 78] (the “Motion”),

seeking to admit (1) three instances of uncharged conduct by Defendant Igor Y. Danchenko: (a)

evidence relating to Danchenko’s allegedly false statements regarding his sourcing of the Ritz-

Carlton allegations; (b) evidence pertaining to Danchenko’s allegedly false statement about

disclosing his work for Christopher Steele (“Steele”) and Orbis Business Solutions (“Orbis”); and

(c) an email from Danchenko to a former employer, Cenk Sidar, supposedly encouraging Sidar to

fabricate sources; (2) three emails from Sergei Millian (“Millian”) to Dmitry Zlodorev

(“Zlodorev”) regarding Danchenko; (3) statements from Steele to the FBI about Danchenko’s

sourcing from Millian;1 and (4) the existence of, as well as the facts and circumstances pertaining

to, the FBI’s counter-intelligence investigation into Danchenko. The government also seeks to

prevent Danchenko from introducing any evidence or argument regarding political bias or

vindictive prosecution. The Court held a hearing on the Motion on September 29, 2022, following

which it took the Motion under advisement.




1
 At the hearing held on September 29, 2022, the government withdrew its motion to admit statements from
Christopher Steele to FBI personnel from the Robert Mueller Special Counsel team on September 18 and 19, 2017.
Accordingly, the Motion as to the Steele statements is DENIED as moot without prejudice.
 Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 2 of 18 PageID# 503




       Upon consideration of the Motion, the memoranda in support thereof and in opposition

thereto, the arguments of counsel at the hearing, and for the reasons stated below, the government’s

Motion is GRANTED in part and DENIED in part.

                                      I.    Uncharged Conduct

   A. Ritz-Carlton Allegations

       The government seeks to admit evidence of Danchenko’s uncharged false statements to the

FBI regarding his sourcing of the Ritz-Carlton allegations. The government contends that the Ritz-

Carlton evidence is admissible as direct evidence of the charged crime, or, alternatively, under

Rule 404(b). In June 2016, Danchenko reported to Christopher Steele certain allegations regarding

Donald Trump’s alleged sexual activity at the Ritz-Carlton Hotel in Moscow. Those allegations,

involving scandalous and salacious conduct, were reflected in a Steele Report, dated June 20, 2016.

As stated in the Report, “Source D” (described as a close associate of Trump who had organized

and managed his recent trips to Moscow) and “Source E” (described as a senior western member

of the hotel staff) confirmed the Trump allegations. During his 2017 interviews, the FBI asked

Danchenko about these allegations and the identities of Sources D and E, to which Danchenko

allegedly made several false statements.

       First, in a January 2017 FBI interview, Danchenko claimed to have sourced, in part, the

Ritz-Carlton allegations while staying at the hotel in mid-June 2016 during a planning trip for a

future business conference—a trip Charles Dolan had invited him to attend. Danchenko, however,

later acknowledged in a separate interview that he did not stay at, but only visited, the Ritz-Carlton

Moscow in June 2016. Second, during that same January 2017 interview, Danchenko told FBI

agents that he inquired with staff about the rumors involving Trump’s purported sexual activity at

the hotel, and that the hotel staff did not deny the veracity of those rumors. Danchenko also told



                                                  2
 Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 3 of 18 PageID# 504




the FBI in that same interview that he passed along to Steele the names of the hotel staff he spoke

to. In a subsequent May 2017 FBI interview, Danchenko stated that he spoke with hotel

management about the Ritz-Carlton allegations. Third, in that same May 2017 interview,

Danchenko also indicated that Steele “could be referring to Sergei Millian” as Source D.

       At trial, the Government intends to offer the testimony of the then-general manager of the

Ritz-Carlton Moscow, Bernd Kuhlen, a German citizen, who will testify that he (1) was the only

“western” member of hotel management in June 2016; (2) does not recall meeting or speaking

with Danchenko in June 2016, or at any time; and (3) did not have knowledge of the Ritz-Carlton

allegations at any time prior to the media’s public reporting. Additionally, at trial, the Government

expects to introduce evidence that (1) Charles Dolan and Steven Kupka (a Dolan acquaintance)

received a tour of the Ritz-Carlton Presidential Suite (the site of the alleged salacious activity); (2)

that Dolan and Kupka, not Danchenko, attended a lunch with the Ritz-Carlton general manager

and other hotel staff during the June 2016 trip; and (3) that the sensational Trump-related rumors

were not discussed at that lunch. Finally, the Government also seeks to show that Danchenko could

not have truthfully thought that Source D was possibly “referring to Sergei Millian” given that

Danchenko, by his own account, had no contact with Millian until, at the earliest, sometime in late

July 2016—nearly a month after the June 20, 2016 Steele Report—when he received an

anonymous phone call from a person he thought might be Millian. Through this evidence, the

government seeks to “prove at trial that [Danchenko] falsely sought to attribute the Ritz Carlton

allegations” to Kuhlen and Millian “as part of his work on the Steele Reports.” [Doc. No. 78], at

8-9.

       In response, Danchenko argues that he never told, and there will be no evidence that he

told, the FBI that his sources for the Ritz-Carlton allegations were Millian, Dolan, or Kuhlen.



                                                   3
 Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 4 of 18 PageID# 505




Instead, as he told the FBI in a January 25, 2017 interview, he first learned of the Ritz-Carlton

Moscow allegations in early June 2016 when an individual identified as “I.V.” told him about “a

well-known story” regarding Trump’s alleged salacious sexual activity at the hotel, and that he

“reported Trump’s unorthodox sexual activity at the Ritz[, to Steele,] as ‘rumor and speculation’

and that he had not been able to confirm the story.” [Doc. No. 84], at 9-10. With respect to the

“Source D” statement, Danchenko argues that his statement constitutes mere speculation invited

by the interviewing FBI agent, not a definitive admission that he told Steele that Millian was one

of his sources when reporting these allegations. [Id.] at 10-11.

       Federal Rule of Evidence 404(b) prohibits admitting evidence of another “crime, wrong,

or other act . . . to prove a person’s character in order to show that on a particular occasion the

person acted in accordance with the character.” Fed. R. Evid. 404(b)(1). Such “propensity evidence

is excluded because it might ‘overpersuade’ a jury and cause them to ‘prejudge one with a bad

general record.’” United States v. Queen, 132 F.3d 991, 995 (4th Cir. 1997) (quoting Michelson v.

United States, 335 U.S. 469, 475-76 (1948)). But the Rule allows the admission of evidence of

other acts or crimes if used to prove “motive, opportunity, intent, preparation, plan, knowledge,

identity, absence of mistake, or lack of accident.” Fed. R. Evid. 404(b)(2).

       However, “not all prior ‘bad act’ evidence is encompassed by Rule 404(b).” United States

v. McBride, 676 F.3d 385, 396 (4th Cir. 2012). Instead, the rule is “only applicable when the

challenged evidence is extrinsic, that is, ‘separate’ from or ‘unrelated’ to the charged offense.”

United States v. Bush, 944 F.3d 189, 195 (4th Cir. 2019) (citation omitted). “In contrast, acts that

are a part of, or ‘intrinsic to, the alleged crime do not fall under Rule 404(b)’s limitations on

admissible evidence.’” United States v. Brizuela, 962 F.3d 784, 793-94 (4th Cir. 2020) (quoting

Bush, 944 F.3d at 195-96). When faced with “determining whether uncharged conduct is intrinsic



                                                 4
 Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 5 of 18 PageID# 506




to the charged offenses,” the Fourth Circuit has “consistently held that such [uncharged] conduct

is intrinsic, and not barred by Rule 404(b),” when it (1) “arose out of the same [] series of

transactions as the charged offense,” (2) is “necessary to complete the story of the crime on trial,”

see id. (citations omitted), (3) is “inextricably intertwined” with the charged conduct, (4) is “part

of a single criminal episode,” or (5) was a “necessary preliminar[y] to the crime charged,” Bush,

944 F.3d at 196 (citations omitted). Moreover, evidence is intrinsic “if it is necessary to ‘provide

context relevant to the criminal charges.’” United States v. Basham, 561 F.3d 302, 326 (4th Cir.

2009) (quoting United States v. Cooper, 482 F.3d 658, 663 (4th Cir. 2007)).

       Danchenko’s allegedly false statements regarding his sourcing of the Ritz-Carlton

allegations do not qualify as direct evidence. At bottom, the government has charged Danchenko

with making five false statements about his sourcing for the Steele Reports pertaining to two sets

of lies, i.e., lying about Dolan’s lack of contribution and/or involvement with the Reports and lying

about his belief that he received a call and information from Millian. As the Court signaled at the

hearing, the relevancy and probative value of the Ritz-Carlton allegations is questionable.

       Through Kuhlen, for example, the government seeks to prove that Danchenko completely

fabricated his sources to Steele on the Ritz-Carlton allegations and then lied about it to the FBI to

keep Dolan off the FBI’s radar. But that justification faces several obstacles. First, Dolan’s role in

these uncharged false statements is unclear. The government does not allege that Dolan was a

source for Danchenko’s Ritz-Carlton reporting, and therefore this evidence seemingly is not being

used to prove the falsity of Danchenko’s statement in Count I. While Dolan, in June 2016, received

a tour of the presidential suite and had lunch with the hotel’s general manager and staff, the

government does not appear to intend to present evidence that Dolan told Danchenko about those




                                                  5
 Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 6 of 18 PageID# 507




events, including meeting or speaking with Kuhlen.2 Thus, the link between Danchenko’s

allegedly false statement about the Ritz and Dolan is a highly attenuated one. Perhaps recognizing

this, the government instead proffers that this evidence goes to proving the materiality of

Danchenko’s Count I statement, not its falsity. But the proffered evidence relating to the Ritz-

Carlton allegations bears little probative value in terms of materiality. The government contends

that had Danchenko told the FBI that Dolan was a source it is more likely that it would have

interviewed Dolan, in part, because of his proximity to Danchenko in June 2016. But that fact can

be established separate and apart from trying to prove Danchenko lied about his Ritz-Carlton

sourcing. The government can sufficiently establish at trial that Danchenko engaged in fact

gathering for the Steele Reports in Moscow in June 2016, that Dolan was present in Moscow

during that same time, and that the two met in Moscow, without getting into the purported false

statements or the underlying details, which have an attenuated connection to the charged false

statement. Additionally, and perhaps more importantly, proving up an uncharged false statement

does not bear on the materiality of the charged false statement.

         Second, the government fails to reference any evidence that Danchenko told Steele either

that he met with Kuhlen or, more generally, a western member of the hotel staff. The government

does not, by all indications, intend to call Steele as a witness; and in terms of what Danchenko told

Steele, the jury will be left solely with the hearsay description in the Report itself, which Steele,

not Danchenko, prepared. Why Steele characterized the sources for the Ritz-Carlton allegations as

he did in the Report or, indeed, whether the listed sources, in fact, came from Danchenko are




2
  The government’s position on the probative value of this evidence, aside from materiality, is unclear. The
government at one point, characterizes Dolan as a “fact witness” because of his tour of the presidential suite and time
at the Ritz-Carlton in general, but does not draw a clear line between Dolan’s experiences and Danchenko’s reporting
to Steele. [Doc. No. 78], at 10. The Indictment strongly implies, however, that Danchenko used information learned
from Dolan during the June 2016 Moscow planning trip in his reporting to Steele. [Indictment], ¶¶ 30-34.

                                                          6
 Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 7 of 18 PageID# 508




subject to a significant degree of speculation. As such, the reference in the Report to those sources

does not provide strong evidence that Danchenko informed Steele that he met with a western

member of the hotel staff. Moreover, when asked by the FBI about “Source E” in his May 18,

2017 interview, Danchenko completely equivocated. See [Doc. No. 84], at 11 (“Danchenko: . . . I

don’t think it’s just uh, I don’t think [UI] one of the um, hotel managers. Agent 1: You think source

E is? Danchenko: [ ] Somebody I met. . . . And I don’t know who, who [Steele’s] referring to.”).

The government seeks to prove that Danchenko never met with Kuhlen; and while that may be

true, that evidence does not, given the circumstances, have much probative value concerning

whether Danchenko lied to the FBI about his sourcing of the Ritz-Carlton allegations.

       Accordingly, the Dolan-related Ritz allegations do not qualify as direct evidence as they

are not “inextricably intertwined” or “necessary to provide context” to the relevant charge.

Similarly, given the low probative value of these allegations, they are not admissible under Rule

404(b) as they are substantially outweighed by the danger of confusion and unfair prejudice.

       While a slightly closer call, many of the same problems exist with respect to the admission

of Danchenko’s statement about Source D. The government essentially argues that it would be

impossible for Millian to have been Danchenko’s source for information in the June 20, 2016

Steele Report, if Danchenko, by his own account, had not meet with or had any contact with

Millian before the late July 2016 anonymous call with someone he believed was Millian. Due to

this temporal impossibility, the government posits, the jury could infer that Danchenko was lying

about having a phone call with someone he thought was Millian, just as he had allegedly lied about

Millian being his source for information in a June 2016 Report. But those inferences depend on a

factual foundation not yet established. While the inferential leap the government would ask the

jury to make would be significantly smaller if it was known that Danchenko provided the relevant



                                                 7
    Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 8 of 18 PageID# 509




information to Steele, the government has not yet proffered any evidence that would establish that

the information associated with Source D came from Danchenko. Nor is there any evidence that

Danchenko provided any information attributable to Millian regarding the Ritz-Carlton allegations

to Steele, or that Steele only, or almost entirely, used Danchenko as his source for the Reports.3

Without that type of foundation, Danchenko’s utterly equivocal answers lack the necessary link

for the evidence to qualify as intrinsic and possess such low probative value that they are

substantially outweighed by the danger of unfair prejudice. See [Doc. No. 84], at 11 (“Agent 1:

[Y]ou think that maybe [Source] D could be Mil, Millian. Danchenko: Uh could, could be referring

to Millian or some, someone like that. Agent: Okay. Danchenko: I don’t know, but the question is

who, who was the person who organized Trump’s trip to Russia? I don’t know.”).

         Therefore, the government’s motion is DENIED, with leave to ask for reconsideration as

to the admissibility of Danchenko’s statements concerning Source D based on the evidence

presented at trial.

      B. Steele and Orbis

         The government seeks to move into evidence Danchenko’s allegedly false statement that

he never revealed to friends or connections that he worked for Steele or Orbis. As alleged in the

Indictment, on January 24, 2017, FBI agents asked Danchenko whether “his friends, associates,

and/or sub-sources were aware that he” worked for Steele and Orbis. [Indictment], ¶ 83. In

response, Danchenko stated that he “never mentioned” that he worked for Steele or Orbis, telling

the FBI agents, “you [the FBI] are the first people” he had told. [Id.], ¶ 84. The government plans

to introduce at trial evidence that Danchenko communicated and emailed with, among others,



3
 The Court appreciates that the government intends to introduce evidence establishing that Danchenko was Steele’s
primary source of information for the Steele Reports writ large. [Doc. No. 91], at 4. The proffer notwithstanding, the
Court cannot assume at this point that those foundational gaps will be filled.

                                                          8
 Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 9 of 18 PageID# 510




Dolan regarding his work for Steele and Orbis. The evidence the government intends to introduce

includes (1) an April 29, 2016 email from Danchenko to Dolan, indicating that he passed along a

letter to Steele on Dolan’s behalf and would coordinate a meeting between Dolan and Steele; (2)

a June 10, 2016 email from Dolan to a U.S.-based acquaintance discussing his efforts to assist

Danchenko with obtaining a U.S. visa (“Monday night I fly to Moscow and will meet with a

Russian guy who is working with me on a couple of projects. He also works for a group of former

MI 6 guys in London who do intelligence for business.” (emphasis added)); and (3) a January 13,

2017 email from Dolan to a U.S.-based person discussing a news article regarding Buzzfeed’s

publication of the Steele Reports (“I’ve been interviewed by the Washington Post and the London

Times – three times over the last two days over the MI-6 Dossier on Trump and I know the Russian

agent who made the report (He used to work for me).” (emphasis added)). The government also

seeks to introduce evidence of communications Danchenko had with five additional individuals

that indicate Danchenko disclosed to others his working relationship with Steele and Orbis.

       The evidence pertaining to Danchenko’s allegedly false statement about disclosure of his

work for Steele and Orbis is admissible as it relates to Dolan. See United States v. Smith, 441 F.3d

254, 262 (4th Cir. 2006) (“Evidence is necessary, even if it does not relate to an element of a

charged offense, when it furnishes part of the context of the crime.” (quotation marks omitted)).

At the hearing, Danchenko essentially conceded this point as well. However, the Court finds that

evidence of communications Danchenko had with other individuals identified by the government,

see [Doc. No. 91], at 8 n.4, is not admissible as direct evidence or under Rule 404(b).

       Therefore, the government’s motion is GRANTED in part and DENIED in part.




                                                 9
Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 10 of 18 PageID# 511




   C. February 24, 2016 Email to Cenk Sidar

       The government seeks to introduce a February 24, 2016 email from Danchenko to his

former employer Cenk Sidar, who was the managing partner of Sidar Global, a business

intelligence firm that contracted with Danchenko to provide reports on various subject matters. In

the email, Sidar asked Danchenko for recommendations to improve a company-prepared report.

Responding to that email, Danchenko provided the following recommendation:

       Emphasize sources. Make them bold or CAPITALISED [sic]. The more sources
       the better. If you lack them, use oneself as a source (‘Istanbul-Washington-based
       businessman’ or whatever) to save the situation and make it look a bit better.

The government argues that this evidence is admissible under Rule 404(b). Under the

government’s theory of the case, Danchenko fabricated sources of information that he provided to

Steele, including fabricating Millian as a source. Accordingly, the government seeks to introduce

the Sidar email to prove Danchenko’s common plan or absence of mistake or accident because it

“demonstrates that the misattribution of sources was an intentional feature of his business

intelligence work.” [Doc. No. 78], at 17.

       Evidence of prior bad acts under Rule 404(b) is admissible when it is (i) relevant; (ii)

necessary in the sense that it is probative of an essential claim or an element of the offense; and

(iii) reliable. See United States v. Johnson, 617 F.3d 286, 296-97 (4th Cir. 2010) (quoting Queen,

132 F.3d at 997). Also, the evidence’s probative value must not be substantially outweighed by

confusion or unfair prejudice. Id. At trial, the government must prove that Danchenko made false

statements to the FBI about the sources he used (Millian and Dolan) as part of his work on the

Steele Reports. Though “other acts” can be admitted under 404(b), they must “be sufficiently

related to the charged offense” in order to be relevant. United States v. Hall, 858 F.3d 254, 267

(4th Cir. 2017); see also id. at 296 (“[T]he government must identify each proper purpose for



                                                10
Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 11 of 18 PageID# 512




which it will use the other acts evidence and explain how that evidence ‘fits into a chain of

inferences—a chain that connects the evidence to [each] proper purpose, no link of which is a

forbidden propensity inference.’” (citation omitted)).

       The government argues that the Sidar email is probative to show Danchenko’s common

plan or lack of mistake. However, it is “not enough for the proponent of the other-act evidence

simply to point to a purpose in the ‘permitted’ list and assert that the other-act evidence is relevant

to it. Rule 404(b) is not just concerned with the ultimate conclusion, but with the chain of reasoning

that supports the non-propensity purpose for admitting the evidence.” United States v. Dillingham,

320 F. Supp. 3d 809, 825 (E.D. Va. 2018) (quoting United States v. Gomez, 763 F.3d 845, 856

(7th Cir. 2014) (en banc)). The Sidar email, which is completely unrelated to the Steele reports,

the FBI’s investigation, any federal agency investigation, or any statements Danchenko made to

federal officials, has limited connection to the charged offenses. The government also does not

proffer any evidence, besides the text of the email (which arguably is taken out of context), that

Danchenko intended to suggest to Sidar that Sidar should fabricate or misattribute sources or

include false information in business intelligence reports, or that Danchenko himself follows such

a practice. Cf. Hall, 858 F.3d at 267 (“The more closely that the prior act is related to the charged

conduct in time, pattern, or state of mind, the greater the potential relevance of the prior act.”).

       Instead, the government appears to seek to use this email to paint Danchenko as having a

dishonest character and thus a propensity to fabricate and falsify sources. Therefore, this email is

inadmissible under Rule 404(b). Cf. Dillingham, 320 F. Supp. 3d at 825 (determining evidence

should have been excluded where “it had no connection to the crimes charged other than to show

the defendant’s predisposition and ‘bad character’ and ‘that on a particular occasion the

[defendant] acted in accordance with [his] character” (quoting Fed. R. Evid. 404(b))). Setting aside



                                                  11
Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 12 of 18 PageID# 513




the lack of admissibility under Rule 404(b), the Court would also exclude the Sidar email under

Rule 403 because its low probative value is substantially outweighed by the danger of unfair

prejudice, confusing the issues, and misleading the jury. See Fed. R. Evid. 403.

       Therefore, the government’s motion is DENIED.

                                        II.    Millian Emails

       Next, the government moves to admit three emails from Millian to Zlodorev as non-hearsay

for the purpose of proving that Danchenko never received a call from Millian. On July 21, 2016,

Danchenko sent his first email to Millian. Danchenko then later told the FBI that he received a call

in late-July from someone he “believed” was Millian. On July 26, 2016, Millian sent an email to

Zlodorev inquiring about Danchenko, writing, in part, “An email came from Igor. Who is that?

What sort of person?” In August 2016, Danchenko sent follow up emails to Millian (August 18)

and Zlodorev (August 24). Approximately four years later, in July 2020 and after Congress

released a heavily redacted report of Danchenko’s January 2017 interview with the FBI, only

identifying Danchenko as Steele’s “primary subsource,” Millian sent two more emails to Zlodorev

discussing Danchenko. At the time Congress released its report, Millian had been publicly reported

to be a source for certain information in the Steele Reports, including information collected in “late

July” 2016 involving the Trump Campaign’s “conspiracy of cooperation” with Russian officials.

See [Doc. No. 78], at 22. On July 19, 2020, Millian emailed Zlodorev, writing “I believe they’ve

already found Steele’s source: [internet address]. Do you remember such a person? Igor

Danchenko?” The next day, July 20, Millian followed up with another email:

       I’ve been informed that Bogdanovsky travelled to New York with Danchenko at
       the end of July 2016; Danchenko, supposedly to meet with me (but the meeting
       didn’t take place). Can you inquire with Bogdanovsky whether he remembers
       something from that trip and whether they touched upon my name in conversation,
       as well as for what reason Danchenko was travelling to NY? Steele, it seems, made
       Danchenko the fall guy, but Danchenko himself made several statements that were


                                                 12
Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 13 of 18 PageID# 514




        difficult to understand, for example, about the call with me. Did he tell
        Bogdanovsky that he communicated with me by phone and on what topic? Thank
        you! This will clarify a lot for me personally. It’s a convoluted story!

        The government contends that all three emails are admissible non-hearsay because each

email consists of a series of questions. The emails in question, however, contain much more than

that. For instance, the July 26, 2016 email reads, in part, “An email came from Igor.” Similarly,

the July 20, 2020 email includes several assertions, including “I’ve been informed that

Bogdanovsky travelled to New York with Danchenko at the end of July 2016; Danchenko,

supposedly to meet with me (but the meeting didn’t take place)” and “Steele, it seems, made

Danchenko the fall guy, but Danchenko himself made several statements that were difficult to

understand, for example, about the call with me.” Those statements are hearsay. In response, the

government argues that it is not offering those statements for the truth of the matter asserted.

Instead, it contends that it is offering Millian’s non-question statements pursuant to Rule 803(3) to

prove Millian’s state of mind at the time he sent the emails.

        Rule 801 defines hearsay as a “statement that: (1) the declarant does not make while

testifying at the current trial or hearing; and (2) a party offers in evidence to prove the truth of the

matter asserted in the statement.” Fed. R. Evid. 801(c). A statement is a “person’s oral assertion,

written assertion, or nonverbal conduct, if the person intended it as an assertion.” Fed. R. Evid.

801(a). Rule 801 does not define “assertion,” but the advisory committee notes clarify that

“nothing is an assertion unless intended to be one.” Fed. R. Evid. 801(a) advisory committee’s

note to 1972 amendment. In United States v. Sinclair, the Fourth Circuit, citing numerous other

circuits, explained that “[a] question or inquiry is not a statement and therefore is not hearsay

unless it can be construed as an intended assertion.” 301 F. App’x 251, 253 (4th Cir. 2008)

(citations omitted) (emphasis added); see also United States v. Love, 706 F.3d 832, 840 (7th Cir.



                                                  13
Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 14 of 18 PageID# 515




2013) (observing that “questions are not ‘statements’ and therefore are not hearsay” (collecting

cases)). Therefore, the focus is on whether the declarant intended to make an assertion with their

question. See United States v. Torres, 794 F.3d 1053, 1061 (9th Cir. 2015) (“Because there may

be instances where a party attempts to admit hearsay by cloaking statements under the guise of a

question, the focus of the inquiry should be on what the declarant intended to say, whether implied

or directly asserted.”).

        In Sinclair, the out-of-court declarant asked a witness of a shooting several questions,

including “what happened” and “who shot” the victim. 301 F. App’x at 253. The court admitted

those questions as non-hearsay because they were only “requests for information” and could not

be “construed as assertions.” Id. In contrast, the Tenth Circuit overruled the district court’s decision

to admit a co-defendant’s question as non-hearsay. United States v. Summers, 414 F.3d 1287 (10th

Cir. 2005). In Summers, a co-defendant being arrested for a bank robbery exclaimed to police,

“How did you guys finds us so fast?” Id. at 1298. In reversing the district court, the Tenth Circuit

concluded that the statement should have been excluded because it “begs credulity to assume that

in positing the question [the co-defendant] was exclusively interested in modern methods of law

enforcement, including surveillance, communication, and coordination. Rather, fairly construed

the statement intimated both guilt and wonderment at the ability of the police to apprehend the

perpetrators of the crime so quickly.” Id. at 1300.

        Federal Rule of Evidence 803(3) provides that a hearsay statement is admissible if it is:

“[a] statement of the declarant’s then-existing state of mind (such as motive, intent, or plan) or

emotional, sensory, or physical condition (such as mental feeling, pain, or bodily health), but not

including a statement of memory or belief to prove the fact remembered or believed.” See also

United States v. Liu, 654 F. App’x 149, 154 (4th Cir. 2016) (“Forward-looking statements of intent



                                                  14
Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 15 of 18 PageID# 516




are admissible, but backward-looking statements of memory are not. For this reason, statements

describing a declarant’s then-existing state of mind are admissible, but statements about the

declarant’s reasons for having that state of mind are inadmissible.” (internal citations omitted)

(emphasis added)); United States v. LeMaster, 54 F.3d 1224, 1231 (6th Cir. 1995) (“To be

admissible under Rule 803(3) as an exception to the hearsay rule, the declarant must not have had

an opportunity to reflect and possibly fabricate or misrepresent his thoughts.” (citing United States

v. Neely, 980 F.2d 1074, 1083 (7th Cir. 1992))).

       Applying these principles to the Millian e-mails, the Court concludes that the July 26, 2016

email is admissible in its entirety. The email’s questions are very similar to those in Sinclair (“Who

is that? What sort of person?”) and thus qualify as non-hearsay. Furthermore, the hearsay

statements in the email (“Dimitry, on Friday I’m returning from Asia. An email came from Igor.”)

are a combination of a forward-looking statement and a statement sufficiently imbedded in the

question to allow their admission and are necessary for the question to be understood and help

establish Millian’s state of mind at the time he sent the email. Moreover, the referenced e-mail is

not disputed and in fact, Danchenko relies on his sending a July 21, 2016 e-mail as a partial basis

for his believing he had spoken with Millian. Accordingly, Millian’s July 26, 2016 email is

admissible.

       In contrast, the Court will exclude both of Millian’s July 2020 emails. The Court must

consider the changed circumstances against which those e-mails were sent. By July 2020, Millian

(a former president of the Russian-American Chamber of Commerce) had already been “outed” as

a purported source for the Steele Reports, and may have been aware as early as November 2016

that he had come to the attention of the FBI. Moreover, Millian directed his emails to Zlodorev—

an employee of RIA Novosti, a Russian state-run media outlet. [Doc. No. 78], at 20 & n.4.



                                                 15
Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 16 of 18 PageID# 517




Accordingly, Millian certainly possessed motive and opportunity to misrepresent his thoughts, i.e.,

convince an employee of a Russian-controlled company, or more generally, anyone who gained

access or otherwise saw his emails, that he played no role in providing information about a

potential conspiracy between Russian officials and the Trump Campaign. Accordingly, the hearsay

statements in those emails are inadmissible. See LeMaster, 54 F.3d at 1231 (“[T]he declarant must

not have had an opportunity to reflect and possibly fabricate or misrepresent his thoughts.”).

Furthermore, from the context of the emails, it can be reasonably construed that Millian’s questions

are meant to reaffirm his assertion that he never met or spoke with Danchenko. The questions are

not simply benign requests for information, but rather reinforce Millian’s implied assertion that

the reports of his discussions with Danchenko are false and that he never spoke with Danchenko.

         Finally, the July 2020 emails are cumulative of the point the government wants to make by

way of these e-mails—that Millian never talked to Danchenko, as Danchenko claims he believed.

There is little impact to the government in excluding these e-mails, particularly given the limited

probative value either of these emails have with respect to the core issue of whether Danchenko

believed he had spoken to Millian. For these reasons, Millian’s July 2020 emails are not admissible

as non-hearsay, under Rule 803(3)’s exception, or otherwise.4 Therefore, the government’s motion

is GRANTED in part and DENIED in part.

                                  III.     Counter-Intelligence Investigation

         Both the government and Danchenko agree that the fact of a prior counter-intelligence

investigation should be admitted at trial. Danchenko, however, wishes to exclude the details of the


4
  Additionally, the Court finds that the Millian July 2020 emails are inadmissible under Federal Rule of Evidence 807.
“For a statement to be admissible under Rule 807, it must contain ‘guarantees of trustworthiness.’” Burgess v.
Goldstein, 997 F.3d 541, 560 (4th Cir. 2021) (citation omitted). Moreover, because Rule 807 is “a narrow exception”
to the rule against hearsay, it “should be utilized only after much consideration and examination.” United States v.
Dunford, 148 F.3d 385, 392, 394 (4th Cir. 1998) (internal quotation marks omitted). The emails lack the necessary
“guarantees of trustworthiness” as the government does not offer direct evidence that Millian actually wrote the emails,
and, even if he did, Millian possessed opportunity and motive to fabricate and/or misrepresent his thoughts.

                                                          16
Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 17 of 18 PageID# 518




investigation. According to the government, in late 2008, Danchenko approached a colleague at a

think tank in Washington D.C. who he thought might be entering the incoming Obama

administration and have access to classified information. Danchenko purportedly told that

colleague that he, Danchenko, had access to people who would be willing to pay money in

exchange for classified information. The colleague passed along that information to the FBI. The

FBI initiated a preliminary investigation, converting it to a full investigation after learning, in part,

that Danchenko had previous contact with the Russian embassy and known Russian intelligence

officers. In connection with that investigation, the FBI also learned that Danchenko expressed an

interest in entering the Russian diplomatic service to become a Russian intelligence officer. The

FBI closed the investigation in 2010 because it incorrectly believed that Danchenko left the

country.

        The Court will exclude the details of the investigation. The probative value of these

unproven allegations, i.e., Danchenko sought to facilitate the sale of classified information and

that he had contact with Russian intelligence services, which would have to be established through

multiple levels of hearsay, is of only marginal relevance in terms of proving the materiality of

Danchenko’s allegedly false statements. The evidence’s low probative value is substantially

outweighed by the danger of unfair prejudice and confusion of the issues.

        Therefore, the government’s motion as to the counterintelligence investigation is

GRANTED in part and DENIED in part, subject to reconsideration at trial should the government

demonstrate need for rebuttal.

                                         IV.     Political Bias

        The government seeks to prevent Danchenko from presenting evidence or making

arguments at trial that the present prosecution is politically motivated. Danchenko asks that he be



                                                   17
Case 1:21-cr-00245-AJT Document 101 Filed 10/04/22 Page 18 of 18 PageID# 519




allowed to reserve the right to test the credibility, bias, motivation, and reliability of the

government’s witnesses. See, e.g., United States v. Safavian, 2008 WL 5255534, at *1 (D.D.C.

Dec. 12, 2008) (“[T]he Court generally agrees with the government that the questions of whether

there has been vindictive or selective prosecution, why the government has decided to prosecute

[the defendant] and not others, . . . are not matters properly presented to the jury. . . . On the other

hand, . . . some questions in this case that touch on these matters also may go to the bias, prejudice

or credibility of a particular witness.”). Whether such evidence would be admissible cannot be

determined at this time and the Court will rule on specific evidence if and when this type of

evidence is sought to be presented at trial.

        Accordingly, it is hereby

        ORDERED that the Government’s omnibus Motion in Limine [Doc. No. 78] is

GRANTED in part and DENIED in part.

        The Clerk is directed to forward a copy of this Order to all counsel of record.




Alexandria, Virginia
October 4, 2022




                                                  18
